                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

                                        NO. 7:05-CR-140-FL

 UNITED STATES OF AMERICA,                       )
                                                 )
           v.                                    )
                                                 )                      ORDER
 MARK ANTHONY STUKES,                            )
                                                 )
                           Defendant.            )



       This matter is before the court on defendant’s motion for compassionate release (DE 86).

The motion was briefed fully, and in this posture, the issues raised are ripe for ruling.

                                         BACKGROUND

       On December 14, 2005, defendant was indicted for possession of five grams or more of

cocaine base, in violation of Title 21 U.S.C. § 841(a)(1) (“count one”); using and carrying a firearm

during and in relation to a drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A) (count

two); and possession of a firearm by a person previously convicted of a felony, in violation of §§

922(g)(1) and 924 (count three). On June 20, 2006, defendant pleaded guilty, pursuant to a

written plea agreement, to counts one and two. On October 23, 2006, the court sentenced

defendant to 201 months’ imprisonment on count one and 84 months’ imprisonment on count two

to be served consecutively. The court dismissed count three pursuant to the plea agreement.

       On July 8, 2020, the court granted defendant’s motion for reduction of sentence pursuant

to the First Step Act of 2018. The court reduced defendant’s sentence to 178 months on count

one to be served consecutively to his previously imposed sentence of 84 months on count two.

       Defendant filed the instant motion for compassionate release on August 7, 2020, raising




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concerns about his risk of contracting COVID-19. In support, defendant relies upon his medical

records, administrative request for compassionate release, and the Federal Bureau of Prisons

(“FBOP”) inmate data. Defendant states that he suffers from the following medical conditions,

some of which allegedly place him at higher risk of complications if he contracts COVID-19:

hypertension, hyperlipidemia, partial loss of teeth, arthritis, chronic viral Hepatitis C. Further,

defendant is 66 years old and contends his age also places him at higher risk of complications.

       The government responded on August 19, 2020 and submitted a supplemental response on

August 20, 2020. In support, the government relies upon defendant’s medical records; the

declaration of Christina Kelly, a senior attorney at the Federal Correctional Complex in Butner,

North Carolina; and FBOP inmate data. Defendant replied on August 25, 2020.

                                       COURT’S DISCUSSION

       With limited exceptions, the court may not modify a sentence once it has been imposed.

18 U.S.C. § 3582(c). One exception is the doctrine of compassionate release, which permits the

court to reduce a sentence in extraordinary and compelling circumstances. As amended by the

First Step Act, 18 U.S.C. § 3582(c)(1)(A) now permits a defendant to file motion for

compassionate release in the sentencing court “after the defendant has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden of the

defendant’s facility, whichever is earlier.” See First Step Act § 603, 132 Stat. at 5239.1

       The court may reduce defendant’s term of imprisonment if, after consideration of the

factors set forth in 18 U.S.C. § 3553(a), it finds that “extraordinary and compelling reasons warrant


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       The government does not contest that defendant exhausted administrative remedies.

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such a reduction” and that “such a reduction is consistent with applicable policy statements issued

by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A)(i).2 The Sentencing Commission

promulgated U.S.S.G. § 1B1.13 as the policy statement applicable to compassionate release

motions filed by the FBOP. Section 1B1.13 is substantially similar to § 3582(c)(1)(A), but adds

that before granting compassionate release the court must determine “the defendant is not a danger

to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g).” See

U.S.S.G. § 1B1.13(1)(B)(2).

        Application note one to U.S.S.G. § 1B1.13 provides the Sentencing Commission’s views

on when extraordinary and compelling reasons justify compassionate release:

        (A)      Medical Condition of the Defendant.

                 (i) The defendant is suffering from a terminal illness (i.e., a serious and
                 advanced illness with an end of life trajectory). A specific prognosis of life
                 expectancy (i.e., a probability of death within a specific time period) is not
                 required. Examples include metastatic solid-tumor cancer, amyotrophic
                 lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

                 (ii) The defendant is

                          (I) suffering from a serious physical or medical condition,
                          (II) suffering from a serious functional or cognitive impairment, or
                          (III) experiencing deteriorating physical or mental health because of
                          the aging process,

                 that substantially diminishes the ability of the defendant to provide self-care
                 within the environment of a correctional facility and from which he or she
                 is not expected to recover.

        (B)      Age of the Defendant. The defendant (i) is at least 65 years old; (ii) is
                 experiencing a serious deterioration in physical or mental health because of
                 the aging process; and (iii) has served at least 10 years or 75 percent of his
                 or her term of imprisonment, whichever is less.


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         The statute also permits compassionate release for certain elderly offenders who no longer pose a danger to
the safety of others or the community. 18 U.S.C. § 3582(c)(1)(A)(ii). This provision is not applicable to defendant.
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       (C)      Family Circumstances.

                (i) The death or incapacitation of the caregiver of the defendant’s minor
                child or minor children.

                (ii) The incapacitation of the defendant’s spouse or registered partner when
                the defendant would be the only available caregiver for the spouse or
                registered partner.

       (D)      Other Reasons. As determined by the Director of the Bureau of Prisons,
                there exists in the defendant’s case an extraordinary and compelling reason
                other than, or in combination with, the reasons described in subdivisions
                (A) through (C).

U.S.S.G. 1B1.13, app. n.1.

       Because the current version of U.S.S.G. § 1B1.13 applies to motions filed by the FBOP

and has not been updated since the First Step Act’s amendments to § 3582(c)(1)(A), some district

courts have determined that the foregoing policy statement is not a binding “applicable policy

statement” when the defendant moves for compassionate release. See, e.g., United States v. Beck,

425 F. Supp. 3d 573, 579 (M.D.N.C. 2019). Assuming without deciding that the current policy

statement is non-binding, the provision provides important guidance to district courts when

evaluating compassionate release motions, particularly where the majority of the application note’s

definition of extraordinary and compelling reasons applies regardless of whether the FBOP or

defendant files the motion.     See id.   The court, however, arguably has authority to grant

compassionate release if it finds extraordinary and compelling circumstances justify reducing

defendant’s sentence even if such circumstances are not specifically delineated in U.S.S.G.

§ 1B1.13. See id.

       Defendant’s instant motion does not establish grounds for compassionate release under

U.S.S.G. § 1B1.13, or otherwise demonstrate that extraordinary and compelling reasons justify


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release. The government does not appear to contest that defendant’s age or health conditions

place him at higher risk of developing complications if he contracts COVID-19. However,

defendant previously contracted COVID-19 and recovered. (See Def. Sealed Ex. (DE 87) at 1;

Gov. Resp. (DE 91) at 19; Gov. Sealed Ex. (DE 92) at 1; see also Def.’s Reply (DE 95) at 2-3

(appearing to concede that defendant tested positive for COVID-19 and later recovered)). No

evidence was submitted that defendant’s underlying health conditions caused severe COVID-19

symptoms. And the hypothetical possibilities of reinfection and developing severe complications

if reinfection occurs – where such complications did not develop with the first infection – are too

remote to satisfy the extraordinary and compelling circumstances test. See, e.g., United States v.

Jones, No. 5:11-CR-99-FL, at *8 (E.D.N.C. Oct. 19. 2020); United States v. Burks, No. 3:14-CR-

208-MOC-1, 2020 WL 4927481, at *3 (W.D.N.C. Aug. 21, 2020); United States v. Billings, No.

19-CR-99, 2020 WL 4705285 (D. Colo. Aug. 13, 2020); United States v. Stout, No. 12-3005, 2020

WL 4437464, at *2-4 (Aug. 3, 2020); United States v. Lavatai, Crim. No. 13-21-SOM-2, 2020

WL 4275258, at * 3 (D. Haw. July 24, 2020).3

        Assuming without deciding that defendant has demonstrated that his underlying health

conditions and risk of exposure to COVID-19 are extraordinary and compelling reasons that justify

release, the court finds that defendant’s early release is not supported by the factors under 18



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           Defendant relies on guidance from the CDC, stating that “science does not imply a person is immune
to . . . COVID-19 in the 3 months following infection. The latest data simply suggests that retesting someone in the
3 months following initial infection is not necessary unless that person is exhibiting symptoms or COVID-19 and the
symptoms cannot be associated with another illness.” (DE 95 at 5 (quoting Updated Isolation Guidance Do Not
Imply Immunity to COVID-19, Aug. 14, 2020, https://www.cdc.gov/media/releases/2020/s0814-updated-isolation-
guidance.html)). While the court acknowledges the lack of scientific evidence establishing lasting immunity to the
virus, defendant provides no reliable evidence documenting instances of reinfection. As discussed above, the
possibility of reinfection, in combination with defendant’s prior recovery, fails to establish extraordinary and
compelling circumstances.

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U.S.C. § 3553(a). Defendant is responsible for distributing 37 grams of cocaine base in this

district. (Presentence Investigation Report (“PSR”) ¶¶ 6, 43). Further, the violent nature of the

instant offense weighs against release. Defendant admitted to police that he robbed the victim at

gunpoint. (PSR ¶ 7). Release is also not supported considering defendant’s lengthy criminal

history and classification as a career offender. (PSR ¶¶ 10-21, 24). Defendant also was convicted

of assault with a deadly weapon inflicting serious injury, which involved defendant shooting

another person in the arm. (PSR ¶ 11). Moreover, defendant’s state parole was revoked twice

for absconding, and he failed to report to the parole office on twelve separate occasions while on

supervision. (PSR ¶ 11).

       Defendant argues that he is committed to his rehabilitation as demonstrated by his having

no infractions in the past fourteenth years. The court commends defendant for his record of

achievement while in custody. (See DE 82-2). The court has considered fully defendant’s

exemplary post-sentencing conduct but finds that the remaining § 3553(a) factors do not support

a sentence reduction.

                                        CONCLUSION

       Based on the foregoing, defendant motion for compassionate release (DE 86) is DENIED.

       SO ORDERED, this the 9th day of November, 2020.


                                             _____________________________
                                             LOUISE W. FLANAGAN
                                             United States District Judge




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